                                                                                                             Case 07-10416-BLS            Doc 3033-1   Filed 09/24/07     Page 1 of 2



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                                                                                                     Alireza Nazmi and Golden Key Mortgage
                                                                                                 7

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                                                                                                 9                                UNITED STATES BANKRUPTCY COURT
                                                                                                10                                          DISTRICT OF DELAWARE
Wendel, Rosen, Black & Dean LLP




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                                                                   O akland, CA 94 607- 403 6




                                                                                                12   In Re                                                 Chapter 11
                                                                                                13   NEW CENTURY TRS HOLDING, INC.,                        Case No. 07-10416 (KJC)
                                                                                                     a Delaware corporation, et al
                                                                                                14                                                         Jointly Administered
                                                                                                                               Debtors.
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                                                                                                                                           CERTIFICATE OF SERVICE
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                                                                                                           Case 07-10416-BLS         Doc 3033-1       Filed 09/24/07     Page 2 of 2



                                                                                                 1                                     CERTIFICATE OF SERVICE

                                                                                                 2           I, Beverly Colclough, declare:

                                                                                                 3           I am a citizen of the United States and am employed in Alameda County, California. I am

                                                                                                 4   over the age of eighteen years and not a party to the within-entitled action. My business address

                                                                                                 5   is 1111 Broadway, 24th Floor, Oakland, California 94607-4036.

                                                                                                 6           On September 24, 2007, I served a copy of the following documents:

                                                                                                 7           NOTICE AND REQUEST FOR REMOVAL FROM SERVICE LIST

                                                                                                 8           (by mail) by placing true and correct copies thereof, enclosed in a sealed envelope with

                                                                                                 9   first-class postage thereon fully prepaid, in a designated area for outgoing mail, addressed as set

                                                                                                10   forth below. At Wendel, Rosen, Black & Dean LLP, mail placed in that designated area is given
Wendel, Rosen, Black & Dean LLP




                                                                                                11   the correct amount of first class postage and is deposited that same day, in the ordinary course of
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                                                                                                     business, in a United States mailbox in the City of Oakland, California.
                                                                   O akland, CA 94 607- 403 6




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                                                                                                            Mark D. Collins, Esq.                         Attorneys for Jointly Administered Debtors
                                                                                                14          Richards Layton & Finger
                                                                                                            One Rodney Square
                                                                                                15
                                                                                                            P.O. Box 551
                                                                                                16          Wilmington, DE 19899

                                                                                                17          Office of the U.S. Trustee                    United States Trustee
                                                                                                            844 King Street, Room 2207
                                                                                                18          Lockbox No. 35
                                                                                                            Wilmington, DE 19899-0035
                                                                                                19
                                                                                                20
                                                                                                             I declare under penalty of perjury that the foregoing is true and correct, and that this
                                                                                                21
                                                                                                     declaration was executed on September 24, 2007, in Oakland, California.
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                                                                                                                                                    /s/ Beverly Colclough
                                                                                                24                                                  Beverly Colclough

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